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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA


IN RE:

         ADDIE MAE SIMMONS,                               CASE NO. 15-10291

                       Debtor.                            CHAPTER 13

ADDIE MAE SIMMONS,                          ADVERSARY PROCEEDING NO. 21-01001

Plaintiff,

v.

WILMINGTON SAVINGS FUND SOCIETY,
FSB d/b/a CHRISTINA TRUST AS TRUSTEE
FOR PNPMS TRUST II,

Defendant.



             NOTICE OF HEARING ON MOTION TO REQUEST A HEARING

      PLEASE TAKE NOTICE that a hearing will be held via telephone conference on the
Motion to Request a Hearing:

         U.S. Bankruptcy Court
         Courtroom B
         433 Cherry Street
         Macon, GA 31201

on October 19, 2021 at 1:30 P.M.

         This 5th day of October, 2021.


                                            /s/ Shelba D. Sellers
                                            Sellers & Mitchell, PC.
                                            Attorney for Debtor
                                            P.O. Box 1157
                                            Thomasville GA 31792
                                            State Bar 635510
                                            (229)226-9888
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                           CERTIFICATE OF SERVICE

       I hereby certify that I have this day served a copy of the foregoing document
upon all parties listed below either by electronic notice for those requesting such
service, or by placing adequate postage thereon to ensure proper deliver and depositing
same in the first-class United States mail to ensure delivery thereof.

       Jonathan W. DeLoach
       Office of The Chapter 13 Trustee
       P. O. Box 1907
       Columbus, GA 31902

       Bret Chaness
       Rubin Lublin, LLC
       3140 Avalon Ridge Place, Suite 100
       Peachtree Corners, GA 30071

Dated this 5th day of October, 2021.

                                                /s/ Shelba D. Sellers
                                                Attorney for Debtors
                                                Georgia Bar No. 635510

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